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                UNITED STATES DISTRICT COURT FOR THE
10
                    CENTRAL DISTRICT OF CALIFORNIA
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13   TESSIBLE “SKYLER” FOSTER;              2:23-cv-07441-AB-PVC
     MARIE SCOTT; and KRISTA
14   BAUMBACH                               [PROPOSED] ORDER
15                                          GRANTING UNOPPOSED
                                            MOTION FOR APPROVAL OF
16             PLAINTIFFS,                  ATTORNEYS’ FEES,
17   V.                                     EXPENSES, AND INCENTIVE
     800-FLOWERS, INC., D/B/A 1-800-        AWARDS
18
     FLOWERS.COM, HARRY & DAVID,
19   PERSONALIZATION MALL,
20   SHARI’S BERRIES, 1-800-
     BASKETS.COM, SIMPLY
21   CHOCOLATE, FRUIT
22   BOUQUETS.COM, CHERYL’S
     COOKIES, THE POPCORN
23
     FACTORY, WOLFERMAN’S
24   BAKERY, AND VITAL CHOICE,
25
26             DEFENDANT.
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                                         #:874



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 2         Having considered the Unopposed Motion for Approval of Attorneys’ Fees,

 3   Expenses, and Incentive Awards, it is hereby ORDERED THAT:
 4         (1) Attorneys’ Fees in the amount of $300,000.00 are awarded to Class
 5            Counsel from the Settlement Fund pursuant to the Settlement Agreement;
 6         (2) Costs in amount of $14,000.00 are awarded to Class Counsel from the
 7            Settlement Fund;
 8         (3) $2,500 is awarded as an incentive award based on their service to, and
 9            representation of, the Settlement Class to each Representative Plaintiff,
10            Tessible “Skyler” Foster, Marie Scott, and Krista Baumbach (a total of
11            $7,500) from the Settlement Fund pursuant to the Settlement Agreement.
12
              IT IS SO ORDERED.
13
14   Dated:_______________________        _______________________
15                                        Hon. André Birotte Jr.
                                          UNITED STATES DISTRICT JUDGE
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                                   [PROPOSED] ORDER
